Case 4:16-cv-00003-WTM-GRS Document 1-2 Filed 01/06/16 Page 1 of 7




          EXHIBIT "B"
      Case 4:16-cv-00003-WTM-GRS Document 1-2 Filed 01/06/16 Page 2 of 7
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                           ____                                         IAfrCLUjflCLERK•
                                                                         CHXIHAII CO.; CAt
                        IN THE STATE COURT OF                                      P1.
                                                                                      N
                                       STATE OF GEORGIA                                                    C




GRACE F. SCOTT                                     )



                                                   )

          Plaintiffs,                              )




vs.                                                )



                                                   )



                                                   ) Civil AdionNo.             s./cOLc1
                                                   )


BELK, INC.,

          Defendant
                                                                                                     r,i
                                             SUMMONS                                                 C




  TO BVUçINC.
      dbNationdRqftbwWAgenb6kM
      1201 Poschtree Street Norft4 Suite 1240
      Añanta, GA 30361


          You are hereby summoned and required to file with the Clerk of this Court and to serve
  upon the Plaintiff's attorney, whose name and address arc:

                    0. Craig Stafford
                    ARNOLD & STAFFORD
                    Post Office Box 339
                    Hine"* 11@, Georgia 31310
                    (912) 369-4529


  an answer to the Complaint that is herewith served upon you within 30 days after service of this

  summons upon you, exclusive of the day of service. Ifyouftit to do so, judgment by default will

  be taken against you for the relief demanded in the Complaint.




  Date:                                                 L4.L$%JQIL&.J
                                                           Chatham County State Coult




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      Case 4:16-cv-00003-WTM-GRS Document 1-2 Filed 01/06/16 Page 3 of 7




                     IN THE STATE
                                STATE OF GEORGIA                     .05OCT-2
  GRACIE F. SCOTT                                      )


      Plaintiffs,                                      )


  vs.                                                  )


                                                           Civil Action No._____________
  BELK, INC.,                                          )


      Defendant.                                       )



                                                       )




                                          COMPLAINT

        COMBS NOW Oracle F. Scott, Plaintiff in the above-styled action, by and through her
attorneys, and shows the Court the following:                                                         C'
                                                                                                      '



                                                                                                      i&J

                                                   1.                                                     I t,


      Plainliff, Oracle F. Scott, resides at 230 Maple Drive, N., }linesville, Liberty County,              I
Georgia 31313.                                                                                        U'


                                                  2.

        Defendant, Belk, Inc., (hereinafter "Belk") is a corporation authorized to do business in
the State of Georgia with an office/place of business located at 7804 Abercom Street, Suite 184,
Savannah, Chatham County, Georgia Defendant may be served with process in this case by
service upon its registered agent for service of process, National Registered Agents, Inc., at 1201
Peachtree Street Northeast, Suite 1240, Atlanta, Fulton County, Georgia 30361.

                                                  3.




      Defendant was the owner and/or occupier of the BCIIC depadment store located at 7804
Abercom St., Suite 184, Oglethorpe Mall, Savannah, GA 31406 at all times material herein.

                                                  4.

       Jurisdiction is proper as to Defendant.

                                                  5.

       Venue is proper as to Defendant.

                           0




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          Case 4:16-cv-00003-WTM-GRS Document 1-2 Filed 01/06/16 Page 4 of 7

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                                                     6.

           On January 2, 2014, Plaintiff Oracle F. Scott was legally on the premises of the Belk
    department store located at 7804 Abercorn St., Suite 184, Oglethorpe Mall, Savannah, QA
    31406, as an invitee and customer/patron for the specific purpose of shopping at said Balk
    department store. • -

                                                     1.
            While on the premises and within the Belk Department Store building, and while walking
    in the store within the pedestrian/customer designated walk way on the first floor and exercising
    all reasonable and due care for her safety, Plaintiff Oracle Scott stepped on an area of tile and
    grout which was unsafe, dangerous, and not properly maintained and which caused her to fall to
    the ground and sustain bodily injuries.

                                                    S.

          Plaintiff Oracle F. Scott's fall was the direct result of the unsafe, dangerous condition of
    abnormal and uneven tile and grout surfacing.


                                                    9.

           Agents and/or employees of Defendant were negligent in allowing the uneven tile and
    grout condition to exist.

                                                    10.

           Defendant's agents and/or employees were negligent in that they failed to exercise
    ordinary care in keeping the premises safe.
                                                    11.

            Said negligence of Defendant's agents and/or employees is imputed to Defendant.

                                                   12.

            As a direct and proximate result of Defendant's negligence, Plaintiff Grade F. Scott
    suffered bodily injuries, including, but not limited to, lacerations to her face and mouth. and
    fractured teeth.
                                                   13.

                                                _Scott was exercising due care for
    her own safety.

                                                   -2-
      Case 4:16-cv-00003-WTM-GRS Document 1-2 Filed 01/06/16 Page 5 of 7




 her own safety.


                                               14.

        At the time and place of the incident complained of, Defendant owed Plaintiff Grade F.
 Scott a duty of, exercising ordinary care to maintain the department store premises in a
 reasonably safe condition; to correct dangerous cohdilions of which they knew or should have
 known; and to warn Plaintiff of any dangerous condition of which Defendant knew or should
 have had knowledge.

                                               15.

      At the time and place of the incident complained of, Defendant, via its agents and
employees, breathed its duties owed to Plaintiff Grade F. Scott in one or more of the following
ways:

      a.      Defendant negligently and carelessly maintained the area, and in particular, the
walkway, in an unsafe, dangerous and defective condition;

        b.     Defendant negligently and carelessly failed to discover the unsafe, dangerous and
defective condition of the walkway area by conducting proper inspections;

        C.      After Defendant learned or discovered this dangerous, unsafe and defective
condition in the walkway, Defendant nonetheless failed to cause appropriate steps to be taken to
remedy such condition and negligently and carelessly failed to correct it; and

        d.     After learning of the dangerous condition, Defendant negligently and carelessly
failed to warn Plaintiff Grade F. Scott about it

                                               16.

        At all times complained of the unsafe and dangerous condition of the walkway area was a
defect unknown to Plaintiff Gracie F. Scott and was not discoverable by her in the exercise of
reasonable care.
                                              17.

       At all times complained of, Defendant knew, or in the exercise of ordinary care should
have known, of the unsafe, dangerous and defective condition in the walkway, as it is heavily
used by the patrons and that such condition, if not promptly remedied, created a particular,
inherent, intrinsic, and unreasonable risk of physical harm to persons coming upon the store
premises.




                                             -3-
        Case 4:16-cv-00003-WTM-GRS Document 1-2 Filed 01/06/16 Page 6 of 7

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                                                      18.

          Defendant, via Its agents and employees, had knowledge of said dangerous condition
    which was superior to the knowledge of Plaintiff.

                                                     19.
           As a direct and proximate result of the aforementioned acts of negligence of Defendant
    and Defendant's agen6 and employees as set out herein, Plaintiff Oracle F. Scott has sustained
    pain and suffering, and medical bills and will sustain future pain and suffering, and medical
    expenses.

           WHEREFORE, Plaintiff prays as follows:

           (a)    That process issue and Defendant be served with the summons and complaint
           according to law;

           (b)    That Plaintiff have a trial by a jury;

          (c)    That Plaintiff Oracle F. Scott have judgment against Defendant for all damages
          allowed under Georgia law, including, but not limited to, recovery for general and special
          damages, including pain and suffering, both mental and physical, and medical bills, in an
          amount to be proven at the time of trial;

          (d)     That Plaintiff recover the costs of this litigation;

          (e)     For such other and further relief as this Court deems just and proper.

          Respectfully submitted, this     2    day of 0&I°('tTh 2015.

                                                            ARNOLD, STAFFORD



                                                               4. et
                                                            H. Craig Stafford/
                                                            Georgia Bar No. 673885
                                                            Jeffery L. Arnold
                                                            Georgia Bar No. 023375
                                                            Andrew S. Johnson
                                                            Georgia Bar No. 107116
                                                            Attorney for Plaintiff

    Post Office Box 339
    Hinesville,GA 31310
     912369-4529.


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                    Case 4:16-cv-00003-WTM-GRS Document 1-2 Filed 01/06/16 Page 7 of 7

                                                  A 7ONAL REGISTERED AGE/V. INC
                                        SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
 To: GLENDA PIAZZA
        Belk, Inc.                                                                                                     SOP Transmittal 4         527966514
        2801 W Tyvola Rd
        Charlotte, NC 282174500
                                                                                                                       404.965-3840 - Telephone
 Entity Served: BELK, INC. (Domestic State: DELAWARE)




 Enclosed herewith are legal documents received on behalf of the above captioned entity by National Registered Agents, Inc or its Affiliate
 in the State of GEORGIA on this 12 day of October, 2015. The following is a summary of the document(s) received:

 1.       Title of Action: GRACIE F. SCOTT, PlIf. vs. BELK, INC., Dft.
 2.       Document(s) Served: Other: Summons, Complaint, First Request(s), First Interrogatories

 3.       Court of Jurisdiction/Case Number: Chatham County State Court, GA
                                             Case # STCV 150 1572
4.        Amount Claimed, if any: N/A
5.        Method of Service:
         _X_ Personally served by:                      _X Process Server                       - Deputy Sheriff                       - U. S Marshall
               Delivered Via:                           - Certified Mail                        - Regular Mail                               Facsimile
         - Other (Explain):
6.         Date and Time of Receipt: 10/1212015 09:29:00 AM CST
7.         Appearance/Answer Date: Within 30 days after service, exclusive of the day of service (Document(s) may contain
                                                 additional answer dates)
8.         Received From: H. Craig Stafford                                                     9. Federal Express Airbill #
                           ARNOLD, STAFFORD
                           Post Office Box 339
                           Hinesville, GA 31310                                                 10. Call Made to: Not required
                           912-3694529
11.        Special Comments:
NR.M has retained the current log, Retain Date: 1W12/2015. Expected Purge Date: 11/11/2015

Image SOP

Email Notification, RALPH A. PIUS RALPU_PJTTS@BEUC.COM

Email Notification, LUTHER T. MOORE LUThER_MOORE@BELK.COM

Email Notification, GLENDA PIAZZA GLENDA..PIAZZA@BELK.COM

Email Notification, REBECCA ORE REBECCA_ORR@BEL1(.COM




NATIONAL REGISTERED AGENTS, INC                                                                     CopiesTo:


Transmitted by Shakinah Edwards
The information contained in this Summary Transmittal Form is provided by National Registered Agents. Inc for informational purposes only and should not
be considered a legal opinion. It is the responsibility of the parties receiving this form to review the legal documents forwarded and to take appropriate action.


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